      Case 1:24-cv-03337-DLF     Document 44   Filed 03/31/25   Page 1 of 42




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


ELI LILLY AND COMPANY, et al.,

                   Plaintiffs,
      v.                                          Case No. 24-CV-3220 (DLF)
ROBERT F. KENNEDY JR., et al.,

                  Defendants.


BRISTOL MYERS SQUIBB COMPANY,

                   Plaintiff,
      v.                                          Case No. 24-CV-3337 (DLF)
ROBERT F. KENNEDY JR., et al.,

                  Defendants.


NOVARTIS PHARMACEUTICALS
CORPORATION,

                   Plaintiff,
      v.                                          Case No. 25-CV-0117 (DLF)
ROBERT F. KENNEDY JR., et al.,

                  Defendants.


            PLAINTIFFS’ BRIEF IN OPPOSITION TO DEFENDANTS’
           CROSS-MOTION FOR SUMMARY JUDGMENT AND REPLY
                  IN SUPPORT OF SUMMARY JUDGMENT
            Case 1:24-cv-03337-DLF                     Document 44                Filed 03/31/25              Page 2 of 42


                                                   TABLE OF CONTENTS

                                                                                                                                     Page

TABLE OF AUTHORITIES .......................................................................................................... ii

INTRODUCTION .......................................................................................................................... 1

ARGUMENT .................................................................................................................................. 3

     I.      SECTION 340B’S TEXT FORECLOSES THE GOVERNMENT’S
             “PREAPPROVAL” INTERPRETATION ....................................................................... 3

     II.     HRSA’S REFUSAL TO APPROVE PLAINTIFFS’ MODELS IS
             ARBITRARY AND CAPRICIOUS ................................................................................ 9

            A.    HRSA Irrationally Distinguished Between Plaintiffs’ Models And
                  The ADAP Cash-Rebate Model ................................................................................. 9

            B.    HRSA Irrationally Distinguished Between Plaintiffs’ Models And
                  The Product-Replenishment Model ......................................................................... 12

            C.    HRSA’s Policy Impedes Statutory Objectives......................................................... 15

            D.    The Agency’s Policy Precludes Manufacturers From Implementing
                  MFP-340B Nonduplication ...................................................................................... 18

            E.    HRSA Has No Solution For The Program-Integrity Problems Of The
                  Current System And No Answer For The Benefits Of
                  Plaintiffs’ Models ..................................................................................................... 22

     III.        HRSA’S REFUSAL TO APPROVE BMS AND NOVARTIS’S
                 MODELS DENIES THEM DUE PROCESS OF LAW ............................................. 23

            A.    The Government’s Position Deprives Plaintiffs Of Property Interests
                  In Their Medicines ................................................................................................... 24

            B.    HHS’s Position Is Irrational And Gravely Unfair .................................................... 28

            C.    Novartis Has No Meaningful Opportunity To Be Heard Regarding
                  Improper 340B Pricing............................................................................................. 31

CONCLUSION ............................................................................................................................. 33




                                                                     i
            Case 1:24-cv-03337-DLF                      Document 44              Filed 03/31/25             Page 3 of 42


                                                TABLE OF AUTHORITIES

                                                                                                                                Page(s)

 CASES:
*Astra USA, Inc. v. Santa Clara County,
       563 U.S. 110 (2011) .......................................................................................................... 5, 6
 Banner Health v. Price,
       867 F.3d 1323 (D.C. Cir. 2017)......................................................................................... 10
 Bennett v. Spear,
        520 U.S. 154 (1997) .......................................................................................................... 20
 Catholic Healthcare W. v. Sebelius,
        748 F.3d 351 (D.C. Cir. 2014)........................................................................................... 11
 Center for Auto Safety v. National Highway Traffic Safety Admin.,
        452 F.3d 798 (D.C. Cir. 2006)........................................................................................... 20
 Chiayu Chang v. USCIS,
       254 F. Supp. 3d 160 (D.D.C. 2017)................................................................................... 24
 Ciba-Geigy Corp. v. EPA,
       801 F.2d 430 (D.C. Cir. 1986)........................................................................................... 20
 City of New York v. FCC,
         814 F.2d 720 (D.C. Cir. 1987), aff’d, 486 U.S. 57 (1988) ................................................ 19
 Cleveland Bd. of Educ. v. Loudermill,
        470 U.S. 532 (1985) .......................................................................................................... 31
 Committee of U.S. Citizens Living in Nicar. v. Reagan,
      859 F.2d 929 (D.C. Cir. 1988), abrogation on other grounds recognized,
      Schieber v. United States, 77 F.4th 806 (D.C. Cir. 2023) ................................................. 28
 County of Los Angeles v. Shalala,
       192 F.3d 1005 (D.C. Cir. 1999)......................................................................................... 10
 CSI Aviation Servs., Inc. v. Department of Transp.,
        637 F.3d 408 (D.C. Cir. 2011)........................................................................................... 22
 Da’Vage v. D.C. Hous. Auth.,
       583 F. Supp. 3d 226 (D.D.C. 2022)................................................................................... 32
 Doe v. Devine,
        703 F.2d 1319 (D.C. Cir. 1983)........................................................................................... 5
 Eagle Pharms., Inc. v. Azar,
        952 F.3d 323 (D.C. Cir. 2020)............................................................................................. 8


 *Authorities upon which we chiefly rely are marked with an asterisk.

                                                                     ii
            Case 1:24-cv-03337-DLF                      Document 44              Filed 03/31/25             Page 4 of 42


                                       TABLE OF AUTHORITIES–CONTINUED

                                                                                                                                Page(s)

 Encino Motorcars, LLC v. Navarro,
        579 U.S. 211 (2016) ............................................................................................................ 6
 Esparraguera v. Department of the Army,
       101 F.4th 28 (D.C. Cir. 2024)............................................................................................ 33
*FCC v. Fox Television Stations, Inc.,
      556 U.S. 502 (2009) ........................................................................................................ 6, 14
 Financial Planning Ass’n v. SEC,
        482 F.3d 481 (D.C. Cir. 2007)............................................................................................. 8
 Furlong v. Shalala,
       156 F.3d 384 (2d Cir. 1998) .............................................................................................. 25
 Horne v. USDA,
       576 U.S. 350 (2015) .......................................................................................................... 25
*Independent Petroleum Ass’n of Am. v. Babbitt,
       92 F.3d 1248 (D.C. Cir. 1996)............................................................................................. 13
 Independent U.S. Tanker Owners Comm. v. Dole,
        809 F.2d 847 (D.C. Cir. 1987)........................................................................................... 15
 iTech U.S., Inc. v. Renaud,
        5 F.4th 59 (D.C. Cir. 2021).................................................................................................. 4
 Loving v. IRS,
        742 F.3d 1013 (D.C. Cir. 2014)....................................................................................... 7, 8
 Mexichem Fluor, Inc. v. EPA,
       866 F.3d 451 (D.C. Cir. 2017)............................................................................................. 7
*Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins., Co.,
      463 U.S. 29 (1983) .............................................................................................................. 15
 National Ass’n of Home Builders v. EPA,
        682 F.3d 1032 (D.C. Cir. 2012)......................................................................................... 14
 National Park Hospitality Ass’n v. Department of Interior,
        538 U.S. 803 (2003) .......................................................................................................... 21
 New England Power Generators Ass’n, Inc. v. FERC,
       881 F.3d 202 (D.C. Cir. 2018)........................................................................................... 23
 Novartis Pharm. Corp. v. Johnson,
        102 F.4th 452 (D.C. Cir. 2024).......................................................................................... 30




                                                                    iii
           Case 1:24-cv-03337-DLF                       Document 44               Filed 03/31/25             Page 5 of 42


                                       TABLE OF AUTHORITIES–CONTINUED

                                                                                                                                 Page(s)

 Overseas Media Corp. v. McNamara,
       385 F.2d 308 (D.C. Cir. 1967)........................................................................................... 10
 Palestine Info. Off. v. Shultz,
        853 F.2d 932 (D.C. Cir. 1988)........................................................................................... 25
 Pharmaceutical Rsch. & Mfrs. of Am. v. HHS,
       138 F. Supp. 3d 31 (D.D.C. 2015)............................................................................... 20, 21
*Propert v. District of Columbia,
      948 F.2d 1327 (D.C. Cir. 1991)........................................................................................... 32
 Rock River Health Care, LLC v. Eagleson,
        14 F.4th 768 (7th Cir. 2021) .............................................................................................. 25
 Russello v. United States,
        464 U.S. 16 (1983) .............................................................................................................. 4
 Sanofi Aventis U.S. LLC v. HHS,
        58 F.4th 696 (3d Cir. 2023) ............................................................................................... 27
 Silverman v. Barry,
        845 F.2d 1072 (D.C. Cir. 1988)......................................................................................... 31
 Simms v. District of Columbia,
       872 F. Supp. 2d 90 (D.D.C. 2012)..................................................................................... 33
 Thompson v. District of Columbia,
       832 F.3d 339 (D.C. Cir. 2016)........................................................................................... 32
 Trans-Pacific Freight Conf. of Japan/Korea v. Fed. Mar. Comm’n,
        650 F.2d 1235 (D.C. Cir. 1980)........................................................................................... 5
 United States v. Bronstein,
        849 F.3d 1101 (D.C. Cir. 2017)........................................................................................... 5
 Westar Energy, Inc. v. FERC,
        473 F.3d 1239 (D.C. Cir. 2007)......................................................................................... 13
 Window Covering Mfrs. Ass’n v. Consumer Prod. Safety Comm’n,
       82 F.4th 1273 (D.C. Cir. 2023).......................................................................................... 23
 Wood v. Ostrander,
       879 F.2d 583 (9th Cir. 1989) ............................................................................................. 26
*Valancourt Books, LLC v. Garland,
      82 F.4th 1222 (D.C. Cir. 2023) ..................................................................................... 27, 28




                                                                     iv
            Case 1:24-cv-03337-DLF                        Document 44                Filed 03/31/25              Page 6 of 42


                                        TABLE OF AUTHORITIES–CONTINUED

                                                                                                                                      Page(s)

 Vietnam Veterans of Am. v. Shinseki,
        599 F.3d 654 (D.C. Cir. 2010)........................................................................................... 24
 REGULATIONS:
 59 Fed. Reg. 25,110 (May 13, 1994) ............................................................................................... 7
 61 Fed. Reg. 65,406 (Dec. 12, 1996)....................................................................................... 16, 32
*63 Fed. Reg. 35,239 (June 29, 1998) ................................................................................. 10, 11, 33
 84 Fed. Reg. 38,639 (Aug. 7, 2019) .............................................................................................. 16
 89 Fed. Reg. 28,643 (Apr. 19, 2024) ............................................................................................. 17
 STATUTES:
 21 U.S.C. § 355a............................................................................................................................ 25
 21 U.S.C. § 355(c)(3)(E)(ii) .......................................................................................................... 25
 21 U.S.C. § 355(c)(3)(E)(iii)–(iv) ................................................................................................. 25
 21 U.S.C. § 355(j)(5)(F)(ii) ........................................................................................................... 25
 21 U.S.C. § 355(j)(5)(F)(iii)–(iv) .................................................................................................. 25
 21 U.S.C. § 360cc .......................................................................................................................... 25
*42 U.S.C. § 256b(a)(1) ................................................................................ 1, 4, 5, 7, 18, 23, 25, 26
 42 U.S.C. § 256b(a)(2) .................................................................................................................... 4
 42 U.S.C. § 256b(a)(4)–(5)............................................................................................................ 26
 42 U.S.C. § 256b(a)(5)(A) ............................................................................................................... 4
 42 U.S.C. § 256b(d)(1)(B)(iv) ......................................................................................................... 4
 42 U.S.C. § 256b(d)(1)(B)(i)(II).................................................................................................... 16
 42 U.S.C. § 256b(d)(1)(B)(vi) ....................................................................................................... 20
 42 U.S.C. § 256b(d)(2)(A) ............................................................................................................ 23
 42 U.S.C. § 256b(d)(3)(A) ............................................................................................................ 16
 42 U.S.C. § 1320f(a)................................................................................................................ 18, 23
 42 U.S.C. § 1320f(a)(2) ........................................................................................................... 21, 23
 42 U.S.C. § 1320f-2(a)(1).............................................................................................................. 26

                                                                        v
          Case 1:24-cv-03337-DLF                        Document 44               Filed 03/31/25              Page 7 of 42


                                      TABLE OF AUTHORITIES–CONTINUED

                                                                                                                                  Page(s)

42 U.S.C. § 1320f-2(d) ...................................................................................................... 21, 23, 26
42 U.S.C. § 1396r-8(a)(1).............................................................................................................. 27
42 U.S.C. § 1396r-8(5)(A) ............................................................................................................ 27
OTHER AUTHORITIES:
CMS, Medicare Drug Price Negotiation Program: Final Guidance, Implementa-
     tion of Section 1191-1198 of the Social Security Act for Initial Price Ap-
     plicability Year 2027 and Manufacturer Effectuation of the Maximum Fair
     Price in 2026 and 2027 (Oct. 2, 2024) ...................................................... 18, 19, 21, 28, 29
CMS, Medicare Drug Price Negotiation Program: Negotiated Prices
     for Initial Price Applicability Year 2026 (Aug. 2024) ................................................ 20, 25
CMS, October 2024 Medicaid & CHIP Enrollment Data Highlights (last updated
      Jan. 15, 2024) .................................................................................................................... 27
GAO, HHS Uses Multiple Mechanisms to Help Ensure Compliance with 340B
     Requirements, GAO-21-107 (Dec. 2020) .................................................................... 17, 26
HHS, Office of the Assistant Secretary for Planning & Evaluation, Medicare Part
      B Drugs: Trends in Spending & Utilization, 2008–2021 .................................................. 27
House Energy & Commerce Comm., Review of the 340B Drug Pricing Program
      (Jan. 10, 2018) ............................................................................................................. 17, 26
HRSA, 340B Drug Pricing Program (last updated Jan. 2025),
     https://www.hrsa.gov/opa .................................................................................................. 20
HRSA, Off. of Pharmacy Affairs, Recertification (last accessed Mar. 31, 2025)......................... 16
Kalderos, 2022 Annual Report: Conquering the “Great Unknown,” (2022) ............................... 17
Cathy Kelly, CMS May Engage in Medicare, 340B Discount Deduplication
      ‘Eventually,’ Ex-CMS Official Says, Citeline Regulatory (Mar. 13, 2025) ...................... 29
Ashwin Mundra, Drug Channels, The 340B Noncompliance Data Gap Leaves
      Drug Manufacturers in the Dark (Mar. 18, 2022) ...................................................... 17, 26
Michael Schlander et al., How Much Does It Cost to Research and Develop a New
      Drug? A Systematic Review and Assessment, 39 PharmacoEconomics
      1243 (Aug. 9, 2021)........................................................................................................... 25




                                                                     vi
       Case 1:24-cv-03337-DLF          Document 44        Filed 03/31/25     Page 8 of 42




                                        INTRODUCTION

       This case presents a straightforward statutory-interpretation question about the methods

Plaintiffs may use to effectuate the 340B price. The 340B statute requires the Secretary of Health

and Human Services (HHS) to “enter into an agreement” with manufacturers—a Pharmaceutical

Pricing Agreement (PPA)—that requires manufacturers to drastically lower the prices of their med-

icines for certain healthcare providers called covered entities. 42 U.S.C. § 256b(a)(1). The statute

identifies two possible methods for making these reduced prices available: an up-front “discount”

or a back-end “rebate.” Id. When Secretary enters PPAs with manufacturers, the statute allows

him to “provide[ ]” for a pricing methodology. Id. He has not purported to do so. Plaintiffs’ PPAs

neither mandate the use of the prevailing product-replenishment model nor prohibit cash rebates—

in fact, they contain no instructions for effectuating 340B pricing. The Government does not con-

tend otherwise, and that should end the analysis.

       Plaintiffs’ interpretation ensures every word in the 340B statute retains meaning. And

Plaintiffs’ statutorily authorized cash-rebate or cash-replenishment models address the rights and

obligations of both manufacturers and covered entities, and are consistent with program precedents

and standard business practices. Critically, they also provide a mechanism for addressing both the

longstanding program integrity concerns that virtually every relevant government watchdog has

found to be commonplace and new statutory provisions for which the government has made no

allowances. The status quo, so strongly defended by the Government, can claim no similar benefits.

       HHS’s Secretary, acting through the Health Resources and Services Administration

(HRSA), claims his ability to “provide[ ]” for either “discounts” or “rebates” in manufacturers’

PPAs means manufacturers must get preapproval to implement their models. But the Secretary has




                                                    1
       Case 1:24-cv-03337-DLF            Document 44        Filed 03/31/25       Page 9 of 42




never before claimed to have, much less exercise, the ad hoc preapproval power—backed by busi-

ness-destroying sanctions—he asserts in this case. The novelty of this position is powerful evidence

that it is incorrect, and the statute’s text, structure, and even drafting history likewise point in one

direction: Whatever limitations the Secretary may be able to impose on the use of rebates or dis-

counts to accomplish 340B pricing must be contained in PPAs, not sprung on manufacturers in

whatever form and on whatever timeline the Secretary deems convenient.

       Even apart from the statutory text, the Government has failed to make sense of HRSA’s

refusal to approve Plaintiffs’ models. The Government’s sole answer to the cash-rebate model’s

decades-long use by AIDS Drug Assistance Programs (ADAPs), a type of covered entity, is that

they are somehow unique. But the Government has not explained how the ADAPs’ particular

attributes today are relevant to the question of whether a rebate model for other covered-entity types

is permissible, and it is telling that the Government has not identified any instance in which the

ADAP rebate model has led to the parade of horribles it frets about, much less HRSA doing so in

the administrative record. And the Government does not dispute the extant product-replenishment

model relies on post-purchase true-ups to effectuate the 340B price, making it a rebate model—just

like Plaintiffs’ proposed models. These structural similarities leave no room for singling out Plain-

tiffs’ models for harsher scrutiny.

       Worse, the Government admits to making distinctions with no legitimate regulatory basis.

It acknowledges its view that up-front discounts are its “preferred” way of implementing 340B

pricing, even though the statute treats rebates and discounts as peers, and even though no widely

used 340B pricing method is an up-front discount. And the Government even admits to privileging

covered entities’ preferences over program integrity, which it attempts to justify because manufac-

turers sign PPAs and covered entities do not. Of course, HRSA directly regulates covered entities,

too, but even that is beside the point: Absent Congressional authorization, agencies do not get to

                                                   2
      Case 1:24-cv-03337-DLF          Document 44        Filed 03/31/25     Page 10 of 42




pick winners and losers. Congress tells agencies what factors they may consider when making

decisions. Covered entities get no special preferences beyond that.

       Perhaps worst of all, the Government has no answer for the Inflation Reduction Act (IRA)-

related harms HRSA’s policy will soon unleash. At most, it tries to deflect blame among Health

and Human Services (HHS) subcomponents and suggests things might get better at some unspeci-

fied future time. That wishful thinking has not worked for the 340B Program to date and it will not

work for the IRA’s “maximum fair price” (MFP) process either. Congress gave HHS’s Secretary

oversight responsibility over both the 340B and IRA programs. And HHS’s time to figure out a

solution for implementing Congress’s no-MFP-340B duplication mandate has long passed. In just

over five months, BMS and Novartis must submit plans for effectuating the MFPs HHS imposed

on them, and given the complexity of that task, BMS and Novartis need time to road-test the way

they will comply. And the Government’s proposed solution for the double-dipping dilemma the

companies face—a back-end credit and debit process—is no solution at all because manufacturers

must have proof that a full MFP rebate has been given on an already 340B-priced unit, proof that

companies rarely have under the product-replenishment model. The Government’s “solution,” in

other words, is to tell manufacturers to accept unlawful duplication even though their models would

solve the problem.

       For all these reasons, HRSA’s refusal to approve Plaintiffs’ rebate models and its general

policy forbidding rebate models absent HRSA preapproval should be vacated and set aside.

                                          ARGUMENT

I.     SECTION 340B’S TEXT FORECLOSES THE GOVERNMENT’S
       “PREAPPROVAL” INTERPRETATION.

       As Plaintiffs have explained, the 340B statute does not discriminate or express a preference

between rebates and discounts. Lilly Opening Br. 26–27; BMS Opening Br. 24; Novartis Opening



                                                3
       Case 1:24-cv-03337-DLF          Document 44        Filed 03/31/25      Page 11 of 42




Br. 20. The statute merely provides that manufacturers enter into an agreement where “the amount

required to be paid” accounts for “any rebate or discount, as provided by the Secretary.” 42 U.S.C.

§ 256b(a)(1). Post-purchase rebates and point-of-sale discounts are both authorized, so long as the

price is at or below the 340B ceiling price. Novartis Opening Br. 20; see also Lilly Opening Br. 27;

BMS Opening Br. 24–25.

       That statutory indifference to discounts and rebates continues throughout section 340B’s

text. The very next paragraph, for example, defines the statutory ceiling price, which is achieved

by reducing the “average manufacturer price.” See 42 U.S.C. § 256b(a)(2). That reduction is called

the “rebate percentage.” Id. Later, in the statute’s duplication prohibition, it again describes “dis-

counts or rebates.” Id. § 256b(a)(5)(A). And when Congress amended the 340B statute to try to

improve its functionality, one of the targeted changes was a “mechanism” for reporting “rebates

and other discounts” and ensuring that “such discounts or rebates” resulted in the appropriate ceil-

ing price. Id. § 256b(d)(1)(B)(iv). That persistent textual parity between rebates and discounts

belies any suggestion that the statute disfavors rebates—much less prefers product replenishment.

“Had Congress intended to” mandate the use of point-of-sale discounts, “it presumably would have

done so expressly.” Russello v. United States, 464 U.S. 16, 23 (1983).

       1. The Government does not disagree. See Gov. Br. 10 (“To be sure, Congress did not

mandate that the manufacturers effectuate the price reductions though upfront discounts . . . .”);

Gov. Br. 14 (“The statute does not prohibit rebate models in the abstract . . . .”). The Government

nonetheless insists that the words “as provided by the Secretary” mean that manufacturers cannot

implement rebate models without HRSA’s advance blessing. Gov. Br. 10–11.

       But courts “do not read snippets of statutory text in a vacuum.” iTech U.S., Inc. v. Renaud,

5 F.4th 59, 63 (D.C. Cir. 2021). Section 340B directs the Secretary to “enter into an agreement

with each manufacturer”—that is, a PPA—“under which the amount required to be paid” to the

                                                  4
      Case 1:24-cv-03337-DLF           Document 44        Filed 03/31/25     Page 12 of 42




manufacturer does not exceed the ceiling price. 42 U.S.C. § 256b(a)(1) (emphasis added). The

Secretary’s ability to “provide” for the use of any particular pricing method must be exercised, if

at all, “under” the Secretary’s “agreement[s] with each manufacturer.” Id. Put differently, any

restrictions on the selection of either rebates or discount must be contained in the PPA, which binds

its signatories. See Astra USA, Inc. v. Santa Clara County, 563 U.S. 110, 118 (2011).

       Section 340B’s broader context confirms as much; the phrase “as provided by the Secretary”

occurs in the subsection devoted solely to establishing “requirements for agreement with Secre-

tary.” 42 U.S.C. § 256b(a) (capitalization altered). The subsection’s “scope is apparent from its

title,” United States v. Bronstein, 849 F.3d 1101, 1109 (D.C. Cir. 2017)—it covers only the content

of “agreements,” rather than giving HRSA unfettered discretion to employ case-by-case deci-

sionmaking. And “[j]ust as Congress’ choice of words is presumed to be deliberate, so too are its

structural choices.” University of Tx. Sw. Med. Ctr. v. Nassar, 570 U.S. 338, 354 (2013).

       Congress’s structural choice answers the Government’s charge that Plaintiffs’ reading of

“as provided by the Secretary” renders that phrase surplusage. Gov. Br. 11. Plaintiffs do not deny

that the Secretary can “provide[ ]” for a rebate or discount model. See Lilly Opening Br. 25; BMS

Opening Br. 26–27; Novartis Opening Br. 21–22. But section 340B directs that the Secretary do

that providing in a certain way: by amending the PPA. For good reason. The choice between

discount and rebate is sufficiently important that the Government should not impose one or the

other without articulating a reasoned basis for doing so, through the public and transparent process

that accompanies PPA amendment. See Doe v. Devine, 703 F.2d 1319, 1326 (D.C. Cir. 1983)

(applying the arbitrary-and-capricious standard to an agency’s contracting behavior); Trans–Pa-

cific Freight Conf. of Japan/Korea v. Federal Mar. Comm’n, 650 F.2d 1235, 1244–45 (D.C. Cir.

1980) (“Rulemaking is an essential component of the administrative process and indeed is often the

preferred procedure for the evolution of agency policies.”). And were HRSA to engage in that

                                                 5
       Case 1:24-cv-03337-DLF           Document 44        Filed 03/31/25    Page 13 of 42




public process, it would be hard-pressed to articulate any reasonable basis for enshrining the disas-

trous product-replenishment model as a legal requirement. See Lilly Opening Br. 14–17; BMS

Opening Br. 12–15; Novartis Opening Br. 11–14 (detailing the rampant program-integrity issues

with the product-replenishment system). Any attempt to do so would entangle the agency in a

doomed attempt to “show that there are good reasons” for eschewing a transparent, fair solution to

those problems. Encino Motorcars, LLC v. Navarro, 579 U.S. 211, 221 (2016) (quoting FCC v.

Fox Television Stations, Inc., 556 U.S. 502, 515 (2009)).

       The Government contends that HRSA could not amend manufacturers’ PPAs to provide for

a rebate or discount model because Astra explained that PPAs are “uniform agreements that recite

the responsibilities § 340B imposes, respectively, on drug manufacturers and the Secretary.” 563

U.S. at 113. This argument—to which the Government returns no fewer than three times (at 10,

11–12, 17–18)—misreads Astra. The question in Astra was whether covered entities could bring

private suits to enforce the 340B statute as supposed third-party beneficiaries of the PPAs. Id.

at 113–114. The Supreme Court held that the answer was “no”; covered entities had no private

right of action to enforce the 340B statute, and the PPAs, which “simply incorporate statutory ob-

ligations and record the manufacturers’ agreement to abide by them,” could not change that because

“[t]he statutory and contractual obligations . . . are one and the same.” Id. at 117–118. Exactly.

Amending the PPA here to provide for a rebate or discount model would “incorporate [the] statutory

obligation[ ]” to provide for a discount or rebate. Id. at 118.

       The Government’s theory drastically overreads Astra’s holding by suggesting that PPAs

may say only what is in the statute—and cannot therefore impose any new requirements. That view

clashes with the text of manufacturers’ PPAs, which impose multiple extra-statutory duties. One

example: Manufacturers must “retain all records that may be necessary” for certain reporting re-

quirements. AR 39–40. Another example: Manufacturers must “hold audit information obtained

                                                  6
      Case 1:24-cv-03337-DLF          Document 44        Filed 03/31/25      Page 14 of 42




from the covered entities confidential.” AR 42. HRSA imposed these requirements by providing

for them in the PPA—just as the statute directs the agency to do if it wishes to restrict the use of

“any rebate or discount.” 42 U.S.C. § 256b(a)(1).

       2. HRSA’s past approach to overseeing pricing models confirms that its “novel reading” of

section 340B is “inconsistent with the statute as written.” Mexichem Fluor, Inc. v. EPA, 866 F.3d

451, 454 (D.C. Cir. 2017); see also Loving v. IRS, 742 F.3d 1013, 1021 (D.C. Cir. 2014). Although

the Government contends (at 10) that “Congress . . . did not contemplate a regime where a manu-

facturer would choose whether to offer discounts or rebates without approval of the Secretary,” that

is precisely what happened for the past 30-plus years. HRSA has never preapproved the ADAP-

rebate or product-replenishment models.       See Lilly Opening Br. 31, 34–35; BMS Opening

Br. 8, 19; Novartis Opening Br. 26, 29. The Government admits as much (at 15) for the ADAP

model, and it rightly does not contest that the product-replenishment model was never pre-ap-

proved.1 Yet manufacturers and covered entities have used these models for decades without facing

the cease-and-desist letters warning of civil monetary penalties and PPA terminations that HRSA

volleyed here.

       Under the Government’s reading, however, manufacturers were violating the 340B statute

until HRSA recognized the ADAP rebate model through notice and comment, and manufacturers

are again violating the 340B statute today in acquiescing to covered entities’ use of the product-




1
   The state and regional hospital associations point out that, early in the 340B Program, HRSA
commented that covered entities need not get “preclearance” before using anti-diversion “safe-
guard[s]” that the associations characterize as part of the product-replenishment model. No. 24-
CV-3220, ECF No. 39-1 at 7 (quoting Final Notice Regarding Section 602 of the Veterans Health
Care Act of 1992 Entity Guidelines, 59 Fed. Reg. 25,110, 25,111 (May 13, 1994)). This point
reinforces the novelty of HRSA’s argument that methods of effectuating 340B prices require its
preapproval. The associations do not even try to explain why this permissiveness should apply to
the product-replenishment model alone.

                                                 7
      Case 1:24-cv-03337-DLF           Document 44        Filed 03/31/25      Page 15 of 42




replenishment model—all without drawing an enforcement response from HRSA. That seems un-

likely in the extreme; agencies need not pursue every statutory violation by regulated parties, but

“in the circumstances of this case, . . . it [is] rather telling that [HRSA] ha[s] never before main-

tained that it possessed this [preapproval] authority.” Loving, 742 F.3d at 1021; see also Financial

Planning Ass’n v. SEC, 482 F.3d 481, 490 (D.C. Cir. 2007) (rejecting agency interpretation that

“flouts six decades of consistent [agency] understanding of its authority under” the statute). The

best reading of the statute is the one that HRSA has adhered to until this case: Manufacturers may

use a rebate or discount model to effectuate the 340B ceiling price unless the Secretary provides

otherwise in manufacturers’ PPAs.

       3. Finally, the Government seeks refuge in section 340B’s legislative history. Gov. Br. 12.

The Court need not “resort to legislative history” to interpret “statutory text that is clear.” Eagle

Pharms., Inc. v. Azar, 952 F.3d 323, 339 (D.C. Cir. 2020) (citation omitted). But the relevance, if

any, of the legislative history here reaffirms the statute’s plain language. The key House Committee

on Energy and Commerce report on the 340B bill recognized that “manufacturers, as a condition

of receiving Federal Medicaid matching funds on their covered outpatient drugs, would have to

enter into an agreement with the Secretary of HHS to provide price reductions (whether through a

discount, rebate, or other mechanism) to these ‘covered entities’ on covered outpatient drugs.”

H.R. Rep. No. 102-384(II), *12 (1992) (emphases added). In addition to confirming that a rebate

model is an available mechanism for offering 340B pricing to covered entities, that passage signals

the Secretary would need to exercise any power to direct a pricing model only through the PPA.

See id. The legislative history undermines, rather than supports, the Government’s view.




                                                 8
       Case 1:24-cv-03337-DLF          Document 44        Filed 03/31/25      Page 16 of 42




II.    HRSA’S REFUSAL TO APPROVE PLAINTIFFS’ MODELS IS ARBITRARY
       AND CAPRICIOUS.

       HRSA’s refusal to approve Plaintiffs’ rebate models is doubly unlawful because it is also

arbitrary and capricious. See Lilly Opening Br. 30–44; BMS Opening Br. 27–42; Novartis Opening

Br. 23–34. First, HRSA has already asked and answered the rebate-model question with ADAPs.

HRSA blessed the rebate model for ADAPs, and the agency may not now block the model’s im-

plementation here without irrationally treating like cases differently. Second, the product-replen-

ishment model and the rebate model are legally equivalent, meaning HRSA may not elevate one

over the other. Third, HRSA’s actions force Plaintiffs to provide 340B pricing where none is owed,

a result that perpetuates unlawful diversion and duplicate discounting. Fourth, HRSA’s position

denies BMS and Novartis the only feasible means of preventing MFP-340B duplication. Finally,

the agency’s decision fails to consider an important aspect of the problem—namely, the compelling

operational and program-integrity reasons for adopting the rebate model—and HRSA’s position

undermines the commonsense benefits the rebate model offers. Each of those defects is an inde-

pendent reason to grant summary judgment for Plaintiffs.

       A.      HRSA Irrationally Distinguished Between Plaintiffs’ Models And The ADAP
               Cash-Rebate Model.

       There is no reasoned basis—especially not a reasoned basis in the record—on which HRSA

could treat Plaintiffs’ models differently from the model manufacturers use for ADAPs. HRSA did

not object to a rebate model in the ADAP context, on-point agency precedent that HRSA now calls

an “exception,” Gov. Br. 3, and that makes its reaction against Plaintiffs’ rebate models all the more

unreasonable. AR 57–58, 332–333, 436–437. The Government offers thin defenses for its uneven

approach to rebate models, none of which withstand scrutiny.

       For one, HRSA never preapproved the ADAP rebate model or asserted the model was sub-

ject to a preapproval requirement. A notice-and-comment process unfolded after ADAPs began


                                                  9
       Case 1:24-cv-03337-DLF           Document 44        Filed 03/31/25       Page 17 of 42




using a rebate model, and HRSA “recognized” that model eventually—but that is far different from

preapproval. 63 Fed. Reg. 35,239, 35,240 (June 29, 1998). If anything, the agency’s suggestion

that approval of a 340B Program rebate model is gated behind a notice-and-comment process that

HRSA could (but is not mandated to) follow only underscores the arbitrariness of its disapproving

Plaintiffs’ models. See Overseas Media Corp. v. McNamara, 385 F.2d 308, 313–314 (D.C. Cir.

1967). For the agency to insist it “has the authority to determine the mechanism” for 340B pricing

with respect to Plaintiffs’ models is arbitrary because it treats like cases differently without a valid

justification for doing so. Gov. Br. 14; see Banner Health v. Price, 867 F.3d 1323, 1349 (D.C. Cir.

2017) (“HHS’s approach was internally inconsistent and inadequately explained. HHS’s broad

discretion in this area is not a license to treat like cases differently.”) (internal quotation marks,

citations, and ellipses omitted).

       What’s more, the method of payment for Plaintiffs’ models and the ADAP cash-rebate

model are identical. With the ADAP cash-rebate model, HRSA said that an after-purchase rebate

“as a method” of furnishing “the 340B discount provided by the statutory ceiling price” was legit-

imate. 63 Fed. Reg. at 35,242. HRSA offers no adequate response to justify its differential treat-

ment of Plaintiffs’ models; covered entities’ interests may “vary,” but the means by which they

access 340B pricing cannot be subject to the agency’s whim. Gov. Br. 15. For this reason as well,

the agency’s action is arbitrary. See County of Los Angeles v. Shalala, 192 F.3d 1005, 1023 (D.C.

Cir. 1999).

       As for concerns about covered entities’ cash flow, HRSA suggested that ADAPs and man-

ufacturers may use “standard business practices” to assist in advance planning for any issues that

may arise. 63 Fed. Reg. at 35,239–42. That logic applies equally to other covered entities. Here

again, the Government provides no explanation why ADAPs, but not major disproportionate share




                                                  10
      Case 1:24-cv-03337-DLF          Document 44        Filed 03/31/25      Page 18 of 42




hospitals (DSH)—some of the largest, most sophisticated, and most profitable hospitals in the coun-

try—can accommodate short windows between wholesale purchases and rebates. Gov. Br. 15. The

record shows that Plaintiffs’ models would preserve covered entities’ cash flow as well as, if not

better than, the product-replenishment model does. AR 269, 287. And the Government does not

dispute that ADAPs’ reliance on a network of retail pharmacies closely resembles the contract-

pharmacy and third-party-administrator arrangements that hospitals and other covered entities use

under the product-replenishment model. See BMS Opening Br. 31; Novartis Opening Br. 28; Lilly

Opening Br. 36. Even the Government’s abbreviated discussion of ADAPs in its briefing is entirely

new: Nowhere in the administrative record did HRSA try to draw these supposed distinctions.

Catholic Healthcare W. v. Sebelius, 748 F.3d 351, 354 (D.C. Cir. 2014) (an agency’s decision can-

not be sustained “on a legal analysis other than that expressed by the agency”).

       HRSA’s comparative reasoning with respect to ADAPs is also wrong. To be sure, a rebate

model for ADAPs was especially appropriate because ADAPs had difficulty accessing 340B-priced

medicines through other means. Gov. Br. 15 (citing 63 Fed. Reg. at 35,240). But HRSA clings to

the premise that discounts are the default mechanism, unless it finds good reasons to deviate.2 No-

where does the statute prioritize one or the other or authorize HRSA to reserve a rebate model for

some types of covered entities and not others, however. And the fact that ADAPs face “unique”

challenges that may prevent them from using a discount model, Gov. Br. 16 (citation omitted),

hardly suggests that other 340B covered entities are uniquely well-suited to a discount model only.

HRSA’s guidance document also does not support that reading, which HRSA notably did not rely




2
  This premise also clashes with the omnipresence of the product-replenishment model, which is
fundamentally a rebate model, not a discount model. Lilly Opening Br. 32–33; BMS Opening
Br. 33–34; Novartis Opening Br. 29–30.

                                                11
       Case 1:24-cv-03337-DLF             Document 44         Filed 03/31/25        Page 19 of 42




on to reach its decision. AR 342–344 (BMS Ltr.); AR 292–294 (Lilly Ltr.); AR 202–204 (Johnson

& Johnson Ltr.); AR 380–382 (Sanofi Ltr.); AR 439–441 (Novartis Ltr.).

        B.      HRSA Irrationally Distinguished Between Plaintiffs’ Models And The
                Product-Replenishment Model.

        HRSA’s refusal to approve Plaintiffs’ rebate models is also arbitrary and capricious because

the existing product-replenishment model is itself a rebate model. Lilly Opening Br. 32–33; BMS

Opening Br. 33–34; Novartis Opening Br. 29–30. The Government disagrees. Gov. Br. 16–17.

But the Government makes a critical—indeed, dispositive—concession: The product-replenish-

ment model begins with a wholesale-price purchase, followed by a later purchase at the 340B price.

Gov. Br. 17 (“[U]nder the product replenishment model, the covered entity only pays the wholesale

price for its initial purchase.”). Both models therefore rely on retrospective provisioning of the

340B price, after an initial purchase of medicine at the market price. AR 203 (HRSA acknowledg-

ing that “under a typical replenishment structure, a covered entity generally makes an initial pur-

chase at a higher price”).

        That is a rebate model: Plaintiffs’ model of a rebate paid in cash can be described in the

exact same way as the existing product-replenishment model. Suppose a manufacturer wholesales

medicine for $100 a unit and the 340B ceiling price on the unit is $50. Under Plaintiffs’ models, a

covered entity purchases its first unit for $100, uses the unit to fill its eligible patients’ prescriptions,

and receives a $50 cash rebate. The covered entity can put that $50 rebate towards the purchase of

a replacement unit of medicine, such that it pays only $50 out of pocket for the replacement unit.

The covered entity then uses the replacement unit to fill its eligible patients’ prescriptions, receives

another $50 rebate, can apply the $50 towards another $100 replacement purchase of medicine, and

so on in perpetuity. There is an initial wholesale-price purchase that begins a flywheel of later




                                                     12
       Case 1:24-cv-03337-DLF          Document 44        Filed 03/31/25      Page 20 of 42




reduced-price purchases under both models, and the covered entity must pay the full wholesale

price for only the first purchase.

       With the Government’s misconceptions cleared up, the arbitrariness of HRSA’s denial be-

comes plain: “A fundamental norm of administrative procedure requires an agency to treat like

cases alike.” Westar Energy, Inc. v. FERC, 473 F.3d 1239, 1241 (D.C. Cir. 2007). Thus, “[i]f the

agency makes an exception in one case, then it must either make an exception in a similar case or

point to a relevant distinction between the two cases.” Id. Applied here, if HRSA has tacitly blessed

the product-replenishment model, with no preapproval requirement, then it should do the same for

Plaintiffs’ functionally identical rebate models. The only difference between the two is that instead

of replacing product with product, as the product-replenishment model does, Plaintiffs’ models

replace product with cash that can be used to replace the product; that is precisely why Lilly’s

model is called a “cash-replenishment” model. See Lilly Opening Br. 18 n.12.

       Independent Petroleum Association of America v. Babbitt, 92 F.3d 1248 (D.C. Cir. 1996),

is instructive. There, the Department of Interior sought to collect royalties on one type of payment

made to gas producers, but not another. Id. at 1260. Although the payment types differed in that

only one “follow[ed] negotiations between the parties over the cancellation of contractual obliga-

tions,” the Court concluded that this distinction made no difference when assessing “the functional

nature of the payments for royalty purposes.” Id. Here too, the functional nature of the product-

replenishment model and Plaintiffs’ intended rebate models is the same: Both depend on an initial

purchase at wholesale rates followed by subsequent purchases at reduced prices. Against that back-

drop, HRSA has failed to articulate a sufficient, nonarbitrary rationale for treating the two models

differently. See id. at 1260 (“The treatment of cases A and B, where the two cases are functionally

indistinguishable, must be consistent. That is the very meaning of the arbitrary and capricious

standard.”).

                                                 13
      Case 1:24-cv-03337-DLF             Document 44      Filed 03/31/25      Page 21 of 42




       The Government also doubles down on its ad hoc preapproval authority argument, pointing

out (at 14) that in rebuffing Plaintiffs’ intended rebate models, “the Agency never said never,” even

though it has clearly and repeatedly said “no.”3 The problem, of course, is that the agency never

said anything, at all, that might be characterized as preapproving the product-replenishment model.

HRSA’s insistence on arrogating to itself that power now is not just contrary to the statute—it runs

counter to the agency’s past practice.

       The heavy implication from HRSA’s interrogating questions to manufacturers is that the

agency is looking for problems with Plaintiffs’ models while ignoring the models’ proven benefits.

See AR 66–68 (J&J); AR 292–294 (Lilly); AR 380–382 (Sanofi); AR 342–444 (BMS);

AR 439–441 (Novartis). Take the first “question” HRSA posed to manufacturers: “Shifting to a

rebate model would disrupt how the 340B Program has operated for over thirty years.” E.g., AR

342 (BMS); AR 439 (Novartis). That HRSA has failed to even acknowledge its changing tune

renders the agency’s position arbitrary and capricious. And that implication is confirmed by HRSA

asking covered-entity advocates at a meeting to “gather some more specific information from our

members about how changes to 340B policies would affect our members.” AR 586. HRSA must

‘provide reasoned explanation for its’ ” approach, “which ‘would ordinarily demand that it display

awareness that it is changing position.’ ” National Ass’n of Home Builders v. EPA, 682 F.3d 1032,

1038 (D.C. Cir. 2012) (quoting FCC v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009)).

HRSA has not.




3
   Recall that the well-documented programmatic abuses date back decades, AR 591–592, and
HRSA has been discussing a rebate model with Kalderos since February 2019 and manufacturers
since July 2024. AR 499, AR 52–54 (HRSA notes following meeting with J&J). The agency has
shown itself unwilling to fix the 340B Program’s problems or reasonably engage with those trying
to do so.

                                                 14
       Case 1:24-cv-03337-DLF          Document 44        Filed 03/31/25      Page 22 of 42




       C.      HRSA’s Policy Impedes Statutory Objectives.

       The Government does not contest one of the chief flaws in HRSA’s insistence on the prod-

uct-replenishment model: The 340B statute prohibits duplicate-discounting and diversion, yet the

product-replenishment model inherently enables violations of those key statutory provisions.

AR 300. The product-replenishment model commingles 340B and non-340B inventory, and uses

a pass-the-baton methodology for moving the 340B price and attendant compliance obligations

from unit to unit. AR 324. That means that Plaintiffs’ medicines are all-too-frequently diverted to

non-340B-eligible patients—a problem exacerbated by prolific contract-pharmacy arrangements.

And because HRSA currently lacks the oversight tools or the will to monitor for unlawful duplica-

tion, manufacturers also pay multiple price concessions on the same unit. Novartis Opening

Br. 24–25; BMS Opening Br. 34–36; Lilly Opening Br. 7. As the agency tasked with enforcing the

340B statute and its anti-duplication, anti-diversion aims, HRSA was at minimum required to

acknowledge this inconsonance. Its failure to clear even that minimum bar was arbitrary and ca-

pricious. See Independent U.S. Tanker Owners Comm. v. Dole, 809 F.2d 847, 854 (D.C. Cir. 1987)

(agency’s failure to discuss how rule squares with statute’s objective is arbitrary and capricious).

       HRSA emphasizes that the agency has not conducted “a searching inquiry” into the possible

“disruption” occasioned by Plaintiffs’ rebate models, saying only that discounts are “the preferred

price reduction mechanism” because covered entities prefer them. Gov. Br. 20–21; see also id.

at 14 (“The Agency has long envisioned upfront discounts as the preferred price reduction mecha-

nism, because covered entities generally preferred a discount system.”) (internal quotation marks,

brackets, and citation omitted). The preference of covered entities is not a statutory factor that

Congress instructed HRSA to consider. Motor Vehicles Mfrs. Ass’n v. State Farm Auto. Ins. Co.,

463 U.S. 29, 43 (1983) (“Normally, an agency rule would be arbitrary and capricious if the agency

has relied on factors which Congress has not intended it to consider.”). Its action should be set


                                                 15
       Case 1:24-cv-03337-DLF          Document 44        Filed 03/31/25      Page 23 of 42




aside now, notwithstanding the agency’s interest in preserving the status quo until it finds the time

to meet its APA obligations. Gov. Br. 13, 21.

       The Government also suggests it can privilege the interests of covered entities because

HRSA enters into regulatory agreements with manufacturers alone. Gov. Br. 17–18. But HRSA

follows a certification and recertification process dictated by federal law for covered entities meant

to police covered entities’ compliance with 340B, just as HRSA regulates manufacturers’ compli-

ance through enforcing their PPAs. Compare HRSA Off. of Pharmacy Affairs, Recertification (last

accessed Mar. 31, 2025) (“The Office of Pharmacy Affairs (OPA) is required to recertify all par-

ticipating 340B covered entities annually to ensure that they are eligible to remain in the [340B

Program],” which “gives OPA an opportunity to verify compliance with the program require-

ments . . . .”), https://tinyurl.com/rtapk23n, with 42 U.S.C. §§ 256b(a)(7), 256b(d)(1)(B)(i)(II).

HRSA itself has equated its certification and recertification authority over covered entities with its

PPA authority over manufacturers. 84 Fed. Reg. 38,639, 38,640 (Aug. 7, 2019).

       All the Government’s (at 20) emphasis on the ADR process as recourse ignores that a man-

ufacturer may access the ADR process only after it has completed an audit, 42 U.S.C.

§ 256b(d)(3)(A), which is burdensome and time-intensive, and is all the more so due to extra-stat-

utory obligations that HRSA imposes on manufacturers—obligations HRSA makes difficult for

manufacturers to meet by denying them the ability to obtain the evidence necessary to meet the

agency’s extraneous requirements. Critically, HRSA allows audits only after a manufacturer has

compiled and submitted evidence that a violation of the 340B statute has occurred, HRSA has con-

firmed there is “reasonable cause” to conduct an audit, and manufacturers hire outside auditors to

conduct the audits—which can take years. Manufacturer Audit Guidelines and Dispute Resolution

Process, 61 Fed. Reg. 65,406, 65,410 (Dec. 12, 1996). Just last year, HRSA acknowledged that




                                                 16
      Case 1:24-cv-03337-DLF          Document 44       Filed 03/31/25     Page 24 of 42




these barriers mean manufacturers are rarely able to actually use the ADR process: “Since Novem-

ber 2022, HRSA has received two final audit reports from the manufacturers. The infrequency of

finalized manufacturer audit reports along with the requirement that manufacturers audit covered

entities prior to filing an ADR claim suggests that the number of manufacturer ADR claims will be

low.” ADR Final Rule, 89 Fed. Reg. 28,643, 28,644–45 (Apr. 19, 2024). Given the 340B Pro-

gram’s ubiquitous compliance failures, the obvious explanation for the paucity of finalized audits

and ADR proceedings is that HRSA’s burdensome procedures are denying manufacturers access.

       Besides, HRSA overlooks audits’ lackluster track record of enforcing program integrity.

Lilly’s experience attempting to audit covered entities confirms as much. Despite receiving

HRSA’s approval to implement two audit plans, covered entities have dragged their feet and refused

to produce documents HRSA specifically authorized Lilly to seek, with “HRSA . . . refus[ing] to

require compliance and enforce the very document requests that it previously approved.” Brief of

Eli Lilly & Co. as Amicus Curiae, Sanofi-Aventis U.S. LLC v. HHS, No. 24-CV-1603 (DLF)

(D.D.C. Oct. 31, 2024), ECF No. 19-1 at 7-10, 13. But the best proof of these processes’ current

inadequacy is ultimately the real-world results: rampant duplication and other improper pricing,4

costs to the Government from improperly claimed Medicaid discounts, and a system in which

“stakeholders can feel they are operating in the dark.” Kalderos, 2022 Annual Report: Conquering

the “Great Unknown” 24–25 (2022), https://tinyurl.com/45tv6bw6.




4
  See, e.g., AR 432 n.19 (citing GAO, HHS Uses Multiple Mechanisms to Help Ensure Compliance
with 340B Requirements, GAO-21-107 at 14 (Dec. 2020) (2020 GAO Report),
https://www.gao.gov/assets/gao-21-107.pdf; House Energy & Commerce Comm., Review of the
340B Drug Pricing Program 36–37 (Jan. 10, 2018) (340B Review), https://tinyurl.com/58rpjkf;
Ashwin Mundra, Drug Channels, The 340B Noncompliance Data Gap Leaves Drug Manufacturers
in the Dark (Mar. 18, 2022), https://tinyurl.com/445uvh88); Lindsay Bealor Greenleaf, Analysis of
FY 2021 HRSA 340B Covered Entity Audits (Feb. 23, 2023), https://tinyurl.com/yc2aktnh.

                                               17
       Case 1:24-cv-03337-DLF          Document 44        Filed 03/31/25      Page 25 of 42




       What’s more, manufacturers who have availed themselves of their audits rights are fighting

off legal challenges from covered entities that seek to stop them in their tracks.5 Far from a fix for

Plaintiffs’ well-founded complaints, the ADR and audit process—as HRSA administers it—ensures

that manufacturers are unable to pursue 340B statutory compliance through one of the few means

theoretically available.

       D.      The Agency’s Policy Precludes Manufacturers From Implementing MFP-
               340B Nonduplication.

       BMS and Novartis have set out how their obligations under the Drug Price Negotiation

Program’s maximum fair price provisions and the 340B statute are incompatible with the current

product-replenishment model, as well as how the rebate model is the only readily available means

manufacturers have to solve the problem. BMS Opening Br. 38–40, Novartis Opening Br. 34–36.

Because the Drug Price Negotiation Program lacks any plausible mechanism for avoiding duplica-

tion, and because CMS has disclaimed responsibility, manufacturers are left to devise a compliance

plan themselves.6

       The Government argues that HRSA is not responsible for anything IRA-related, pointing

the finger at CMS. Gov. Br. 23. But both section 340B and the IRA place the obligation for com-

plying with their provisions on the Secretary, a named defendant here, not one HHS subunit or

another. See 42 U.S.C. §§ 256b(a)(1), 1320f(a). The Secretary cannot evade responsibility for



5
 E.g., Oregon Health & Sci. Univ. v. Engels, 24-CV-2184 (RC) (D.D.C. filed July 24, 2024);
MaineGeneral Med. Ctr. v. Engels, 24-CV-2187 (RC) (D.D.C. filed July 24, 2024); University of
Rochester v. Engels, 24-CV-2268 (RC) (D.D.C. filed Aug. 1, 2024); Children’s Nat’l Med. Ctr. v.
Engels, 24-CV-2563 (RC) (D.D.C. filed Sept. 6, 2024); University of Wash. Med. Ctr. v. Kennedy,
No. 24-CV-2998 (RC) (D.D.C. filed Oct. 22, 2024); University of Kan. Hosp. Auth., No. 25-CV-
549 (RC) (D.D.C. filed Feb. 24, 2025).
6
  CMS, Medicare Drug Price Negotiation Program: Final Guidance, Implementation of Section
1191-1198 of the Social Security Act for Initial Price Applicability Year 2027 and Manufacturer
Effectuation of the Maximum Fair Price in 2026 and 2027 54–56 (Oct. 2, 2024) (CMS 2027 IRA
Guidance), https://tinyurl.com/2exf63s3.

                                                 18
       Case 1:24-cv-03337-DLF           Document 44        Filed 03/31/25      Page 26 of 42




solving the legal problems his web of regulation creates, only to punish manufacturers for their

good-faith efforts to comply with the laws. See City of New York v. FCC, 814 F.2d 720, 727 (D.C.

Cir. 1987), aff’d, 486 U.S. 57 (1988) (“The FCC’s refusal to enact technical standards . . . , com-

bined with its policy of forbidding franchisors from doing so, seems to put franchisors in a ‘Catch–

22’ position.”). To implement the statutory guarantee of MFP-340B nonduplication, there must be

data sufficient to determine the 340B status of each prescription, which CMS has admitted is not

presently the case for the data pharmacies must submit to claim the MFP: “A dispensing entity

may voluntarily apply [certain data] indicators to a Part D claim to indicate the claim is being billed

for a 340B drug.” CMS 2027 IRA Guidance, supra n.6, at 204 (emphasis added). The only prac-

tical way for BMS and Novartis to gather that data from covered entities and deduplicate 340B and

MFP price concessions is through their proposed rebate models. For the Government to stand in

the way of that effort now, with each component agency pointing its finger at the other, renders the

statutory guarantee meaningless and defies rationality. For both reasons, HRSA’s action is arbi-

trary and should be set aside.

       The Government kicks the can down the road, complaining that “it would be premature to

examine the Agency’s review of the rebate model in relation to the” IRA because HRSA is still

considering whether to exercise its self-appointed preapproval authority. Gov. Br. 21. There is

nothing “premature” about Plaintiffs’ challenge. HRSA made its statutory-interpretation position

clear in letters to Plaintiffs. AR 292 (September 18, 2024 letter to Lilly); AR 342 (November 4,

2024 letter to BMS); AR 439 (January 14, 2025 letter to Novartis). The agency’s response to

Plaintiffs’ proposed 340B models was consistent with its letters to other manufacturers, too. See

AR 66 (August 14, 2024 letter to J&J); AR 424–425 (December 13, 2024 letter to Sanofi). Unsur-

prisingly, the Government does not argue its action is not final or this challenge unripe.




                                                  19
      Case 1:24-cv-03337-DLF          Document 44       Filed 03/31/25     Page 27 of 42




       In those letters, HRSA explicitly threatened manufacturers with termination from the 340B

Program—rendering the manufacturers’ products ineligible for reimbursement by Medicaid and

Medicare Part B—and crushing civil monetary penalties if they did not yield to HRSA’s claimed

preapproval power. AR 214, 425; see Center for Auto Safety v. National Highway Traffic Safety

Admin., 452 F.3d 798, 807 (D.C. Cir. 2006). The Government’s brief makes clear that is a universal

threat against Plaintiffs. Gov. Br. 3–4 (“Manufacturers that do not comply with the terms of the

pricing agreement . . . can be subject to termination from the 340B Program and civil monetary

sanctions.”) (citing 42 U.S.C. § 256b(d)(1)(B)(vi)). And if HRSA’s letters to manufacturers and

the Government’s brief were not clear enough, its website removes any doubt about its legal posi-

tion: “[I]mplementing a rebate proposal without Secretarial approval would violate Section

340B(a)(1) of the Public Health Service Act.” HRSA, 340B Drug Pricing Program (last updated

Jan. 2025), https://www.hrsa.gov/opa. HRSA has “publicly articulate[d]” its “unequivocal posi-

tion,” Ciba-Geigy Corp. v. EPA, 801 F.2d 430, 436 (D.C. Cir. 1986), and it expects manufacturers

to “change their behavior,” Pharmaceutical Rsch. & Mfrs. of Am. v. HHS, 138 F. Supp. 3d 31, 44

(D.D.C. 2015)—or else. Together, these agency actions determine Plaintiffs’ “rights or obliga-

tions”—by purporting to eliminate Plaintiffs’ right to effectuate their 340B models—and “legal

consequences”—in the form of civil monetary penalties and termination from the 340B Program—

“will flow” from the agency’s expressed position. Bennett v. Spear, 520 U.S. 154, 177–178 (1997).

       Moreover, the IRA’s MFP deadline is imminent. This problem is not a theoretical one for

BMS and Novartis. HHS selected BMS’s drug ELIQUIS® and Novartis’s drug ENTRESTO® for

the Drug Price Negotiation Program and imposed an MFP on them beginning on January 1, 2026.

CMS, Medicare Drug Price Negotiation Program: Negotiated Prices for Initial Price Applicability

Year 2026, at 2 (Aug. 2024) (IPAY 2026 Results), https://www.cms.gov/files/document/fact-sheet-

negotiated-prices-initial-price-applicabilityyear2026.pdf; see AR 330. BMS and Novartis must

                                               20
       Case 1:24-cv-03337-DLF           Document 44        Filed 03/31/25       Page 28 of 42




therefore provide CMS with a written “plan for making the MFP available” for ELIQUIS and EN-

TRESTO, called an MFP effectuation plan, by September 1, 2025. CMS 2027 IRA Guidance,

supra n.6, at 285; AR 330.

       That is why the Government’s reference to CMS’s “credit/debit leger system” is no answer

to this problem. Gov. Br. 23. That system would depend on a manufacturer actually being able to

access the claims data that would enable the drugmaker to link a particular prescription to claims

for both MFPs and 340B pricing. See CMS 2027 IRA Guidance, supra n.6, at 220–21. The Gov-

ernment argues that this system can address erroneous price reductions even after the 14-day dead-

line for providing access to MFPs, Gov. Br. 23, but that remedy unjustifiably assumes manufactur-

ers can ever get the necessary data. Under the product-replenishment model, they typically do not.

No. 25-CV-117, ECF No. 12-2 ¶ 14. BMS and Novartis explained these flaws in their opening

briefs. See BMS Opening Br. 38; Novartis Opening Br. 34. The Government has no response; it

just repeats the bare, disproven assertion that the existing credit-debit process is a solution.

       Because HRSA’s position thwarts Plaintiffs’ 340B models while CMS simultaneously re-

fuses to fulfill the IRA’s promise of “[n]onduplication with 340B ceiling price[s],” contra 42 U.S.C.

§§ 1320f(a)(2), 1320f-2(d), Plaintiffs have no other recourse but these lawsuits. See Barrick

Goldstrike Mines Inc. v. Browner, 215 F.3d 45, 49 (D.C. Cir. 2000) (finding claim ripe where chal-

lenger’s “only alternative to obtaining judicial review . . . [was] to violate [the agency’s] direc-

tives, . . . and then defend an enforcement proceeding on the [same] grounds”); see also Pharma-

ceutical Rsch. & Mfrs. of Am., 138 F. Supp. at 42 n.7 (concluding challenge is ripe where “the

Interpretive Rule presents a purely legal question of statutory interpretation” and “the rule also

poses a ‘hardship to the parties of withholding court consideration’ ”) (quoting National Park Hos-

pitality Ass’n v. Department of Interior, 538 U.S. 803, 808 (2003)). Far from being “premature,”




                                                  21
       Case 1:24-cv-03337-DLF          Document 44        Filed 03/31/25      Page 29 of 42




Plaintiffs’ lawsuits are both timely and necessary in order to effectuate the IRA’s MFP-340B non-

duplication entitlement. See CSI Aviation Servs., Inc. v. Department of Transp., 637 F.3d 408, 412

(D.C. Cir. 2011) (concluding challenge was not “premature” where the “DOT ha[d] issued a ‘de-

finitive’ statement of the agency’s legal position” in “[i]ts initial warning letter,” which “took the

position that air charter brokers under GSA contract require agency certification”).

       E.      HRSA Has No Solution For The Program-Integrity Problems Of The Current
               System And No Answer For The Benefits Of Plaintiffs’ Models.

       HRSA refused to consider the operational and program-integrity rationales supporting

Plaintiffs’ intended rebate models, their commonsense benefits, and comparative advantages over

the product-replenishment model. In defense of that decision, the Government repeats a now-fa-

miliar refrain: If HRSA has not considered all aspects of the problem, that is only because the

agency has declined to either approve or disapprove Plaintiffs’ models. Gov. Br. 18.

       That is wrong. For one, that supposed non-position is a denial of Plaintiffs’ models, which

HRSA has now made abundantly clear. E.g., Gov. Br. 18–19. And the threadbare explanation that

HRSA provided here does not clear the APA’s minimum standard of reasonableness. The agency

never engaged with Plaintiffs’ arguments explaining how the cash-rebate model will reanimate core

protections Congress built into the 340B statute. AR 295, 298, 325–330. Nowhere, for example,

did HRSA grapple with the practical benefits of Plaintiffs’ models that address the worst shortcom-

ings of the product-replenishment model or identify any harms that could offset those benefits.

E.g., AR 58–60, 274–275. The agency’s mandate to engage in reasoned decisionmaking means it

must not ignore Plaintiffs’ explanation of the unlawful operation of the product-replenishment

model that Plaintiffs have identified, or disregard Plaintiffs’ arguments that their intended rebate

models would permit meaningful oversight of both duplicate discounting and diversion of 340B




                                                 22
       Case 1:24-cv-03337-DLF          Document 44           Filed 03/31/25   Page 30 of 42




medicines. An agency must “respond meaningfully to the arguments raised before it.” New Eng-

land Power Generators Ass’n, Inc. v. FERC, 881 F.3d 202, 210 (D.C. Cir. 2018) (citation omitted).

HRSA did not.

III.   HRSA’S REFUSAL TO APPROVE BMS AND NOVARTIS’S MODELS DENIES
       THEM DUE PROCESS OF LAW.

       Congress charged HHS’s Secretary to oversee both the 340B Program and the IRA’s Drug

Price Negotiation Program. 42 U.S.C. §§ 256b(a)(1), 1320f(a). In the 340B Program, the Secretary

is supposed to help “prevent . . . violations of the duplicate discount provision and other [compli-

ance] requirements.” Id. § 256b(d)(2)(A). In the IRA’s Drug Price Negotiation Program, the Sec-

retary should act “in accordance with section 1320f-2,” id. § 1320f(a)(2), which contains the re-

quirement of “nonduplication with [the] 340B ceiling price,” id. § 1320f-2(d) (capitalization al-

tered). When the Secretary nevertheless facilitates improper 340B pricing, manufacturers lose rev-

enue in ways forbidden by Congress. That is the problem at the heart of BMS’s and Novartis’s

due-process claims: Unlawful duplication and other improper 340B claims are erroneous depriva-

tions of BMS’s and Novartis’s property, and by adopting contradictory positions and frustrating

manufacturers’ efforts to correct the 340B Program’s rampant abuses, HHS has guaranteed that

these deprivations will not just continue, but accelerate.

       The Government first tries to brush off these claims as “artful pleading efforts” that dupli-

cate Plaintiffs’ APA claims. Gov. Br. 25–26. That framing is mistaken. True, the Court need not

address BMS’s and Novartis’s due-process claims if it rules in their favor on the APA claims. See,

e.g., Window Covering Mfrs. Ass’n v. Consumer Prod. Safety Comm’n, 82 F.4th 1273, 1293 (D.C.

Cir. 2023) (declining to address a constitutional claim after concluding that an agency rule must be

vacated). But that does not make the claims identical. BMS’s and Novartis’s due-process claims

go beyond any one narrow action or policy, focusing instead on the aggregate effect of the way



                                                 23
         Case 1:24-cv-03337-DLF       Document 44        Filed 03/31/25      Page 31 of 42




HHS has discharged its oversight. In other words, these claims foreclose any attempt by HHS to

deflect blame among its component agencies, creating a shapeshifting and effectively unchallenge-

able policy. See No. 24-CV-3337, ECF No. 1 ¶ 107 (challenging “HHS’s siloed administration of

the DPNP and the 340B Program”); No. 25-CV-117, ECF No. 1 ¶ 135 (challenging HHS’s use of

two subcomponents to impose “irreconcilable . . . demands that Novartis cannot simultaneously

meet”); contra Gov. Br. 23 (“The Negotiation Program and the 340B Program are separate pro-

grams, created by separate statutes and administered by separate agencies.”). At bottom, HHS may

not deprive BMS and Novartis of property without due process regardless of the means it uses to

do so.

         The Government also implies that BMS and Novartis are somehow trying to “avoid the

strictures Congress imposed on APA litigation.” Gov. Br. 25–26. Yet it fails to identify any “stric-

tures” relevant here. In the case the Government cites, the court assumed without deciding that

where APA claims are barred under the adequate-alternative-remedy provision of 5 U.S.C. § 704,

constitutional claims “premised on the same” facts are also barred. Vietnam Veterans of Am. v.

Shinseki, 599 F.3d 654, 660 (D.C. Cir. 2010).7 But BMS and Novartis have no adequate alternative

remedy here—and the Government does not contend otherwise. The Government has not provided

any reason to avoid reaching the merits of BMS’s and Novartis’s claims.

         A.     The Government’s Position Deprives Plaintiffs Of Property Interests In Their
                Medicines.

         Improper 340B pricing deprives BMS and Novartis of property in a straightforward way:

An innovative medicine is a valuable product arising from years of research and development and



7
  HHS also cites Chiayu Chang v. USCIS, 254 F. Supp. 3d 160 (D.D.C. 2017), but it is unclear
why. Gov. Br. 26. That decision was about whether the plaintiffs could take discovery rather than
supplement the administrative record. Chiayu Chang, 254 F. Supp. 3d at 161. It has nothing to do
with assessing the merits of due-process claims asserted along aside APA claims.

                                                24
       Case 1:24-cv-03337-DLF           Document 44         Filed 03/31/25       Page 32 of 42




many millions—sometimes billions—of dollars invested. See Michael Schlander et al., How Much

Does It Cost to Research and Develop a New Drug? A Systematic Review and Assessment, 39

PharmacoEconomics 1243, 1264 (Aug. 9, 2021), https://tinyurl.com/mfhu3wtf. Those products are

usually protected by patents and other statutory exclusivities.8 The ability to benefit from those

exclusivities is a protected property interest, Horne v. Department of Agric., 576 U.S. 350, 358–361

(2015), as is the freedom to decide the terms on which any sales of those products occur, see Pal-

estine Info. Off. v. Shultz, 853 F.2d 932, 942 (D.C. Cir. 1988) (describing an “order[ ] by the gov-

ernment to . . . sell off . . . property”). By the same token, restrictions on these property rights that

reduce the property’s value are deprivations of these rights. See, e.g., Connecticut v. Doehr, 501

U.S. 1, 11 (1991) (finding a deprivation through a measure that “impair[ed] the ability to sell or

otherwise alienate the property”). Improper 340B pricing makes BMS and Novartis’s medicines

less valuable because it means they must be sold at prices far below their market value, on terms

Plaintiffs would never choose.

        BMS and Novartis are affected in a second way, too. When the government sets prices by

law, it creates a protected property interest in receiving at least those prices. See Rock River Health

Care, LLC v. Eagleson, 14 F.4th 768, 774 (7th Cir. 2021); Furlong v. Shalala, 156 F.3d 384, 393

(2d Cir. 1998). Both the 340B Program and the IRA’s Drug Price Negotiation Program set maxi-

mum prices manufacturers may charge in certain circumstances. 42 U.S.C. § 256b(a)(1)–(2); IPAY

2026 Results, supra p. 20, at 2 (imposing MFPs on BMS’s ELIQUIS and Novartis’s ENTRESTO).

Those government-set prices are limited by statutory eligibility and nonduplication requirements.



8
   See, e.g., 21 U.S.C. §§ 355(c)(3)(E)(ii), (j)(5)(F)(ii) (five years exclusivity for new chemical en-
tities not previously approved by the FDA); id. § 355(c)(3)(E)(iii)–(iv), (j)(5)(F)(iii)–(iv) (three
years exclusivity to reward additional clinical testing for new indications or to develop new dos-
ages); id. § 355a (six months additional exclusivity for pediatric clinical testing); id. § 360cc (seven
years exclusivity for “orphan drugs” used to treat rare diseases).

                                                   25
       Case 1:24-cv-03337-DLF           Document 44        Filed 03/31/25        Page 33 of 42




42 U.S.C. §§ 256b(a)(1), 256b(a)(4)–(5), 1320f-2(a)(1), 1320f-2(d). So when manufacturers are

forced to provide discounts not required by law, they effectively receive prices below statutory rates

for their products, resulting in another deprivation of a protected interest.9

       The Government resists these conclusions by claiming that Plaintiffs are not being “forced”

to offer improper 340B pricing. Gov. Br. 28, 30. But of course they are. To name only one exam-

ple, Medicaid Drug Rebate Program (MDRP)-340B duplication is so common that some analysts

estimate that up to 5 percent of all Medicaid rebates duplicate 340B pricing. Mundra, supra n.4.

The federal government has repeatedly identified the same problem. E.g., 2020 GAO Report, supra

n.4, at 14; 340B Review, supra n.4, at 36–37. HHS cannot claim that BMS and Novartis are choos-

ing to incur these unlawful losses. The product-replenishment model is responsible for these

harms—which will only get worse after IRA pricing takes effect. HHS cannot evade responsibility

for the obvious, well-documented consequences of its actions by pointing out that it did not directly

order those results. See Wood v. Ostrander, 879 F.2d 583, 587 (9th Cir. 1989) (collecting cases

rejecting the premise that “only intentional misconduct will suffice” as a deprivation).

       The Government also makes a passing attempt to reduce BMS’s and Novartis’s claims to

the ability “to effectuate 340B price reductions through cash rebates” itself. Gov. Br. 27. That

point misconstrues BMS’s and Novartis’s position. The companies are not arguing that the Con-

stitution directly protects the way they wish to implement 340B pricing; they are arguing that their

models are the only feasible way to stop the bleeding from unlawful price reductions that are di-

minishing their constitutionally protected interests in their medicines—bleeding that HHS has, for

years, allowed to continue. BMS Opening Br. 42–44; Novartis Opening Br. 40.



9
  BMS and Novartis disagree that these price controls are themselves lawful. But even setting
aside that question, BMS and Novartis have a protected interest in not receiving even lower prices
than these programs already demand.

                                                  26
      Case 1:24-cv-03337-DLF          Document 44        Filed 03/31/25     Page 34 of 42




       The Government’s final effort to deny that manufacturers are being deprived of property is

to repeat that manufacturers have brought these problems on themselves by choosing to participate

in the 340B Program. See Gov. Br. 2–3, 29, 30. If manufacturers were to withdraw from the

program as HHS suggests, their products would become ineligible for federal reimbursement under

Medicaid and Medicare Part B. 42 U.S.C. § 1396r-8(a)(1), (5)(A). Those programs provide huge

amounts of revenue that manufacturers cannot afford to forgo.10 That is by design. “The federal

government dominates the healthcare market” and “uses that market power to get drug makers to

subsidize healthcare.” Sanofi Aventis U.S. LLC v. HHS, 58 F.4th 696, 699 (3d Cir. 2023). In other

words, the Government has occupied so much of the market that its supposed conditions for doing

business are, in effect, orders. And this is for non-financial reasons as well: If manufacturers

withdrew from all these programs, many of the nation’s most vulnerable patients would lose access

to lifechanging medicines—an unacceptable result. No. 25-CV-117, ECF No. 12-2 ¶ 36.

       The D.C. Circuit recently explained why this sort of gunboat diplomacy cannot be recast as

an arm’s-length deal. When a book publisher contested a statutory requirement that it forfeit some

of its products to the Copyright Office, the Government argued the mandate was “part of a voluntary

exchange” for “copyright protection” and could therefore be avoided by forgoing that protection.

Valancourt Books, LLC v. Garland, 82 F.4th 1222, 1235 (D.C. Cir. 2023). The D.C. Circuit disa-

greed, pointing out the lack of any “known and costless option” for making the trade. Id. “For an

abandonment option to render” participation in a government program “a voluntary choice, the

option would have to at least be cognizable to [property] owners.” Id. Here, the supposed choice




10
  See HHS, Office of the Assistant Secretary for Planning & Evaluation, Medicare Part B Drugs:
Trends in Spending & Utilization, 2008–2021 at 2–3, https://tinyurl.com/4u584fs2; CMS, October
2024 Medicaid & CHIP Enrollment Data Highlights (last updated Jan. 15, 2024), https://ti-
nyurl.com/2jh6kbm4.

                                                27
       Case 1:24-cv-03337-DLF           Document 44        Filed 03/31/25       Page 35 of 42




of exiting the 340B Program is not cognizable to manufacturers (and certainly not “costless”) be-

cause it would harm or even destroy their businesses and impair public health. 340B administration

that spawns more unlawful pricing abuses is not just an onerous term in a business proposal—it is

a deprivation of Plaintiffs’ property interests that they cannot avoid absent judicial relief.

       B.      HHS’s Position Is Irrational And Gravely Unfair.

       HHS is speaking out of both sides of its mouth through different subcomponents. To avoid

unlawful IRA-340B duplication, CMS “strongly encourages manufacturers to work with dispens-

ing entities, covered entities and their 340B TPAs” by “utilizing data available from covered entities

and their 340B TPAs.” CMS 2027 IRA Guidance, supra n.6, at 232. That is what BMS’s and

Novartis’s models are designed to do: utilize claims data already collected by virtual-inventory

systems and TPAs, University of Wash. Med. Ctr. v. Kennedy, No. 24-CV-2998 (RC) (D.D.C. Dec.

20, 2024), ECF No. 22-1 (Testoni Decl.) ¶¶ 6–7, so that providers can receive the right price at the

right time. AR 274–275, 318–320, 433–435. By preventing implementation of those models,

HRSA has forbidden BMS and Novartis to effectuate CMS’s instructions. See AR 292, 342, 439.

The result is two mutually incompatible directives, both from HHS—which will force manufactur-

ers to offer price concessions forbidden by Congress. That is “legally irrational in that it is not

sufficiently keyed to any legitimate state interests.” Committee of U.S. Citizens Living in Nicar. v.

Reagan, 859 F.2d 929, 943–944 (D.C. Cir. 1988) (quotation omitted and alteration adopted), abro-

gation on other grounds recognized, Schieber v. United States, 77 F.4th 806 (D.C. Cir. 2023).

       HHS responds that it has forbidden BMS’s and Novartis’s models only “at this time,” as if

to suggest that it might change its mind before the companies must begin providing access to MFPs.

Gov. Br. 26 (quoting AR 439). HHS has had years to address rebate models, and nearly eight

months to consider this precise problem. Supra n.3; AR 59, 499. There is no more time. BMS and




                                                  28
      Case 1:24-cv-03337-DLF           Document 44        Filed 03/31/25     Page 36 of 42




Novartis must submit plans for effectuating MFPs by September 1, and they need substantial expe-

rience working with those models to inform those plans. CMS 2027 IRA Guidance, supra n.6,

at 285; No. 24-CV-3337, ECF No. 12 ¶ 19; No. 25-CV-117, ECF No. 12-2 ¶ 30. HHS’s irrational

policy therefore has immediate consequences for BMS and Novartis: It is already hampering their

ability to combat unlawful duplication once IRA price caps become effective in January.

       To the extent the Government denies that unlawful MFP-340B duplication will occur under

the status quo, it is mistaken. CMS’s current guidance does not claim that current processes are

sufficient to avoid MFP-340B duplication; CMS simply declined to “assume responsibility” for

ensuring this. CMS 2027 IRA Guidance, supra n.6, at 230. Just this month, a former CMS official

acknowledged that the agency’s current processes “could lead to a rebate on a 340B claim in Med-

icaid, and potentially an MFP, being paid on a 340B claim.” Cathy Kelly, CMS May Engage in

Medicare, 340B Discount Deduplication ‘Eventually,’ Ex-CMS Official Says, Citeline Regulatory

(Mar. 13, 2025), https://tinyurl.com/sbstjepm. The sticking point—as always under the product-

replenishment model—is a lack of access to even basic claims data that would allow 340B-eligible

transactions to be timely identified so that duplication can be avoided or corrected. See id.

       Incredibly, the Government claims to have “addressed that issue by encouraging drug man-

ufacturers to work with 340B covered entities and their third-party claims administrators to obtain

the necessary information.” Gov. Br. 24. That is precisely the basis of BMS’s and Novartis’s

substantive-due-process claims: HHS has made it impossible for manufacturers to follow that in-

struction by threatening them with nuclear sanctions if they implement a model that is fundamen-

tally an attempt to do exactly what CMS recommends. AR 203, 214, 424–425. And even the

Government does not contend that covered entities will give this data out of the goodness of their

hearts. Far from handing over their claims data voluntarily, covered entities often go to great

lengths to avoid it—including by lobbying state legislatures to purport to forbid manufacturers to

                                                 29
       Case 1:24-cv-03337-DLF          Document 44        Filed 03/31/25      Page 37 of 42




require claims data at all. See, e.g., William Newton, Utah Becomes Tenth State to Enact 340B

Contract Pharmacy Access Law After Governor Declines to Act on Bill, 340B Report (Mar. 28,

2025) (noting that an association of covered entities “applauded the passage” of a new bill that

attempts to do so), https://tinyurl.com/24dc5xxd.

       The Government’s position appears to be based on a misunderstanding of how BMS’s and

Novartis’s models would function. It suggests as an alternative that manufacturers could exercise

their “right to impose data-reporting conditions on 340B covered entities.” Gov. Br. 24. But that

is exactly what BMS’s and Novartis’s models do: condition 340B pricing on the prior receipt of

claims data showing that a transaction is eligible for that price. AR 272–273 (explaining that Lilly’s

model requires covered entities to provide “basic, non-proprietary claims data”); AR 329–330 (ex-

plaining that BMS’s model requires covered entities to “submit data . . . to demonstrate . . . eligi-

bility for the 340B price”); AR 435 (explaining that Novartis’s model requires covered entities to

“submit data . . . to validate whether a given purchase is eligible for 340B pricing”).

       The Government does not reveal what kind of other “data-reporting conditions” it has in

mind. Gov. Br. 24. But to the extent it argues manufacturers may not actually enforce those con-

ditions by declining to provide 340B pricing for a particular unit until the conditions are satisfied,

its position defies standard business practices. No. 25-CV-117, ECF No. 12-2 ¶ 27. A claim for

340B pricing is a request for a massive price reduction that, by law, is available only in specific

circumstances. “Data-reporting conditions” that force manufacturers to offer 340B pricing regard-

less of whether providers offer even the most basic confirmation that they are complying with the

340B Program’s statutory preconditions to receiving the 340B price would be self-evidently tooth-

less and would be untethered to the way any legitimate business functions. See id. In any event,

binding caselaw establishes manufacturers’ right to insist on confirmation as a condition of extend-

ing the 340B price. Novartis Pharms. Corp. v. Johnson, 102 F.4th 452, 463 (D.C. Cir. 2024).

                                                 30
         Case 1:24-cv-03337-DLF         Document 44       Filed 03/31/25      Page 38 of 42




         The Government also leans on the legal standard, pointing out that its decisions need not be

“optimal,” but only “rational.” Gov. Br. 28–29. But HHS’s conduct here fails to clear even that

lowest of bars. HHS talks in circles, telling manufacturers it has already addressed their concerns

by “encouraging” them to act in ways it has simultaneously forbidden. The bottom line is that HHS

will neither help manufacturers avoid unlawful duplication nor allow manufacturers to help them-

selves. BMS and Novartis thus face an impossible choice: Comply with HRSA’s demands, know-

ing that the result will be huge financial losses due to unlawful MFP-340B duplication. Or pursue

CMS’s recommendation, getting necessary basic claims data by requiring covered entities to pro-

vide it before receiving 340B pricing for a unit—that is, a cash-rebate model—but only while risk-

ing civil monetary penalties and even termination from Medicaid and Medicare Part B. AR 203,

214, 424–425. That “grave[ly] unfair[ ]” bind amounts to “a deliberate flouting of the law that

trammels significant . . . property rights.” Silverman v. Barry, 845 F.2d 1072, 1080 (D.C. Cir.

1988).

         C.     Novartis Has No Meaningful Opportunity To Be Heard Regarding
                Improper 340B Pricing.

         Novartis’s procedural-due-process claim is based on the lack of process afforded to Novartis

to address individual instances of improper 340B pricing. Novartis Opening Br. 40–41. Novartis

is erroneously deprived of those property interests when it is forced to offer price concessions for-

bidden by law, such as 340B pricing on ineligible transactions and MFP-340B and MDRP-340B

duplication. The Due Process Clause obliges HHS to institute “appropriate procedural safeguards”

to ensure Novartis has a meaningful way to prevent such pricing errors, or at least to correct them

after the fact. Cleveland Bd. of Educ. v. Loudermill, 470 U.S. 532, 541 (1985).

         The Government attempts to dodge this claim entirely by recasting it as a challenge to

HRSA’s process for rejecting Novartis’s cash-rebate model. Gov. Br. 31–32. That is simply a



                                                 31
       Case 1:24-cv-03337-DLF           Document 44        Filed 03/31/25      Page 39 of 42




misreading of Novartis’s claim. The “opportunity” to repeat Novartis’s request for HRSA to

acknowledge Novartis’s right to implement a cash-rebate model does nothing to help stem the tide

of improper 340B pricing. What’s needed is a mechanism for informing HRSA that covered enti-

ties have received 340B pricing they were not entitled to, and a robust way of holding such entities

accountable. By invigorating existing procedures, Novartis’s cash-rebate model would do just that.

       It is no answer to point to any purportedly “available process.” Gov. Br. 31. HHS must

provide processes not just in the abstract, but ones that work in the real world and are effective

enough to avoid errors. See, e.g., Propert v. District of Columbia, 948 F.2d 1327, 1333–34 (D.C.

Cir. 1991); Thompson v. District of Columbia, 832 F.3d 339, 345–346 (D.C. Cir. 2016); Da’Vage

v. D.C. Hous. Auth., 583 F. Supp. 3d 226, 238 (D.D.C. 2022). Novartis does not have that.

       Take audits, for example. As Plaintiffs have repeatedly emphasized, access to audits de-

pends on manufacturers’ ability to first get “sufficient facts and evidence in support” of a claim that

a covered entity has misused the 340B Program. 61 Fed. Reg. at 65,410. The Government insists

this requirement can be surmounted, Gov. Br. 20, but its support for that proposition is less sweep-

ing. The declaration the Government cites refers to only “18 manufacturer-conducted audits over

the past decade-plus” and “37 instances” where HRSA authorized a “proposed work plan” over the

same period—hardly a significant volume. Testoni Decl. ¶ 15 (emphasis added).

       The additional process Novartis is proposing is, at bottom, to grant manufacturers access to

basic claims data they should have had all along. See AR 435. Access to that data would strengthen

the processes the Government identifies, including audits and the 340B credit-debit ledger system.

No. 25-CV-117, ECF No. 12-2 ¶ 28. But more importantly, Novartis would have less of a need to

use those remedial processes in the first place because it would have enough information “to stop

MDRP-340B duplication before it happens” and to “make available (or not, as appropriate) IRA




                                                  32
       Case 1:24-cv-03337-DLF           Document 44        Filed 03/31/25      Page 40 of 42




MFPs correctly.” Id. Providers would receive the right prices at the right times. In other words,

Novartis is asking for pre-deprivation procedures that actually work.

       Finally, Novartis’s cash-rebate model is based on requiring standard claims data that cov-

ered entities already “collect, report, and maintain in the normal course of business.” AR 435. The

model therefore will not impose onerous requirements on covered entities while enhancing program

integrity, leaving HHS with no “interest in avoiding [the] additional procedural safeguards.” See

Simms v. District of Columbia, 872 F. Supp. 2d 90, 103 (D.D.C. 2012). For its part, HRSA has

previously (and correctly) treated the provision of “detailed and accurate . . . initial claim data” as

a ”standard business practice[ ]” that benefits all stakeholders, including covered entities. 63 Fed.

Reg. at 35,241–42. That is true here as well, and it shows that the additional guardrails Novartis is

proposing are required given “the magnitude of the private interest at stake.” Esparraguera v.

Department of the Army, 101 F.4th 28, 40 (D.C. Cir. 2024).

                                          CONCLUSION

       For the foregoing reasons, and those in Plaintiffs’ opening briefs, Plaintiffs’ motions for

summary judgment should be granted, and Defendants’ cross-motion for summary judgment should

be denied.




                                                  33
      Case 1:24-cv-03337-DLF   Document 44    Filed 03/31/25     Page 41 of 42




Dated: March 31, 2025                 Respectfully submitted,


                                      /s/ Catherine E. Stetson
                                      John C. O’Quinn
                                      Matthew S. Owen
                                      Megan McGlynn
                                      KIRKLAND & ELLIS LLP
                                      1301 Pennsylvania Avenue N.W.
                                      Washington, D.C. 20004
                                      (202) 389-5000
                                      john.oquinn@kirkland.com
                                      matt.owen@kirkland.com
                                      megan.mcglynn@kirkland.com

                                      Catherine E. Stetson (D.C. Bar No. 453221)
                                      Jacob T. Young (D.C. Bar No. 90014334)
                                      HOGAN LOVELLS US LLP
                                      555 Thirteenth Street N.W.
                                      Washington, D.C. 20004
                                      (202) 637-5600
                                      cate.stetson@hoganlovells.com
                                      jake.young@hoganlovells.com

                                      Attorneys for Plaintiffs Eli Lilly and Company
                                      and Lilly USA, LLC

                                      /s/ Sean Marotta
                                      Sean Marotta (D.C. Bar No. 1006494)
                                      Marlan Golden (D.C. Bar No. 1673073)
                                      HOGAN LOVELLS US LLP
                                      555 Thirteenth Street, N.W.
                                      Washington, D.C. 20004
                                      Telephone: (202) 637-4881
                                      Facsimile: (202) 637-5910
                                      sean.marotta@hoganlovells.com

                                      Attorneys for Plaintiff Bristol Myers
                                      Squibb Company




                                      34
Case 1:24-cv-03337-DLF   Document 44    Filed 03/31/25     Page 42 of 42




                                /s/ Sean Marotta
                                Sean Marotta (D.C. Bar No. 1006494)
                                Jacob T. Young (D.C. Bar No. 90014334)
                                HOGAN LOVELLS US LLP
                                555 Thirteenth Street, N.W.
                                Washington, D.C. 20004
                                (202) 637-4881
                                sean.marotta@hoganlovells.com

                                Attorneys for Plaintiff Novartis
                                Pharmaceuticals Corporation




                                35
